            Case MDL No. 2979 Document 1-3 Filed 10/20/20 Page 1 of 4



 DECLARATION OF SARAH B. ROGERS IN SUPPORT OF THE NATIONAL RIFLE
    ASSOCIATION’S MOTION TO TRANSFER CASES FOR CONSOLIDATED
         PRE-TRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407


        I, Sarah B. Rogers, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

       1.       I am over twenty-one years of age, and fully competent to make this declaration. I

am a partner with the law firm of Brewer, Attorneys & Counselors (“BAC”), 750 Lexington

Avenue, 14th Floor, New York, New York 10022. I am counsel for the National Rifle Association

of America (the “NRA”) in the matters captioned People v. Nat’l Rifle Ass’n of Am., et al., Index

No. 451625/2020 (Sup. Ct. N.Y. Cnty.) (the “NYAG State Action”) and Nat’l Rifle Ass’n of Am.

v. James, Civ. No. 1:20-cv-00889 (N.D.N.Y.) (the “NYAG Federal Action” and, collectively with

the NYAG State Action, the “NYAG Litigation”). I respectfully submit this declaration in support

of the NRA’s Motion to Transfer Cases for Consolidated Pre-Trial Proceedings Pursuant to 28

U.S.C. § 1407 (the “Consolidation Motion”). Unless otherwise stated, I have personal knowledge

of all matters stated herein.

       2.       In addition to the NYAG Litigation, BAC represents the NRA in the matters

captioned Nat’l Rifle Ass’n of Am. v. Ackerman McQueen, Inc., et al., Civ. Case No. 3-19-cv-

02074-G (N.D. Tex.) (the “Ackerman Litigation”), and Dell’Aquila v. LaPierre et al., Civ. Case

No. 3:19-cv-00679 (M.D. Tn.) (the “Dell’Aquila Litigation”), and represents Grant Stinchfield in

Ackerman McQueen, Inc. v. Grant Stinchfield, Civ. Case No. 3:19-cv-03016-X (N.D. Tex.) (the

“Stinchfield Litigation” and, collectively with the Ackerman Litigation and the Dell’Aquila

Litigation, the “Other NRA-Related Federal Actions”).
              Case MDL No. 2979 Document 1-3 Filed 10/20/20 Page 2 of 4



      3.         Attached as Exhibit A hereto is true and correct copy of the Amended Verified

Complaint filed August 10, 2020, in the NYAG State Action, which is the operative pleading

setting forth the government’s claims therein.

      4.         Attached hereto as Exhibit B is a true and correct copy of the Amended Complaint

filed October 09, 2020, in the NYAG Federal Action, which is the operative pleading setting forth

the NRA’s claims therein.

      5.         Attached hereto as Exhibit C is a true and correct copy of the current docket

summary for the NYAG State Action, generated via NYSCEF. Attached hereto as Exhibit D is a

true and correct copy of the docket summary for the NYAG Federal Action, generated via

PACER/ECF.

      6.         Significant issues of fact in the NYAG Litigation include: the NRA’s dealings with

its former public relations agency, Ackerman McQueen, Inc. (“Ackerman”);1 including knowledge

and intent on the part of NRA executives regarding Ackerman’s activities and billing;2 the NRA’s

stewardship of its finances;3 the veracity of allegations of misspending by former NRA fiduciaries,

including Lt. Col. Oliver North;4 and, fees incurred by other NRA vendors and professionals.5

      7.         During 2019-2020, before the commencement of the NYAG Litigation, the New

York State Office of the Attorney General (the “NYAG”) issued multiple document subpoenas to


       1
         See Ex. B ¶¶ 15, 22; Ex. A ¶¶ 183, 208-215 (regarding an aborted real-estate purchase in
Dallas, Texas allegedly orchestrated by or through Ackerman), 249, 266, 297-326.
       2
         See Ex. B ¶ 15; Ex. A ¶¶ 325, 318-321 (alleging that expenses incurred by Ackerman and
its subsidiary, Mercury Group, Inc., were “direct[ed]” or requested by NRA CEO Wayne
LaPierre).
       3
           See Ex. A ¶ 558.
       4
           See Ex. A ¶¶ 444-471 (North is identified as “Dissident No. 1”).
       5
           See Ex. A ¶¶ 454, 457.
            Case MDL No. 2979 Document 1-3 Filed 10/20/20 Page 3 of 4



the NRA. Documents produced by the NRA in response to those subpoenas are cited by the NYAG

in the NYAG State Action, and it is my expectation that they will constitute (albeit only a portion

of) relevant discovery in the NYAG Litigation. Such documents are voluminous, exceeding 88,000

pages. It is my expectation that significant additional discovery will take place as the NYAG

Litigation proceeds. Among other things, the 88,000+ documents produced to date fail to

encompass any discovery conducted by, or for the benefit of, the NRA. The NRA has identified

numerous third parties likely to possess documents and knowledge relevant to the NYAG

Litigation. A list of these potential witnesses appears in the first column of Exhibit E to this

declaration (discussed below).

      8.       Discovery in the NYAG Litigation is expected to overlap considerably with

discovery in the Other NRA-Related Federal Actions. Indeed, during the NYAG investigation that

preceded the NYAG Litigation, this overlap frequently created complications, since documents

responsive to NYAG subpoenas were subject to protective orders in the Ackerman litigation or

related, predecessor state-court litigation.

      9.       Attached as Exhibit E to this declaration is a chart that identifies witnesses likely

to possess documents or knowledge relevant to the NYAG Litigation, the Ackerman Litigation,

the Dell’Aquila Litigation and/or the Stinchfield Litigation. The chart also indicates a location for

each witness, as determined by BAC based on available records.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed this 20th day of October 2020 in New York, New York.
Case MDL No. 2979 Document 1-3 Filed 10/20/20 Page 4 of 4



                                     /s/ Sarah B. Rogers
                                     Sarah B. Rogers
